                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI

PAUL THUOTTE                                 )
                                             ) Case No. 16-CV-0541-W-FJG
                                             )
v.                                           )
                                             )
MAGIC COIN LAUNDRY, L.L.C.                   )

         JOINT STIPULATION FOR DISMISSAL OF CASE WITH PREJUDICE

        NOW COMES the Parties, through their respective counsel, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii), and hereby stipulate and jointly file this Stipulation of Dismissal With Prejudice

to dismiss all claims asserted in the above-referenced action by Plaintiff Paul Thuotte against

Defendant Magic Coin Laundry, L.L.C., with each party to bear their own costs and attorneys’

fees.

        Dated, this the 3rd day of October, 2016.


                                                     Respectfully Submitted,

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                                                     ***AND***

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           Case 4:16-cv-00541-FJG Document 8 Filed 10/03/16 Page 1 of 2
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                         Page 2 of 2

Case 4:16-cv-00541-FJG Document 8 Filed 10/03/16 Page 2 of 2
